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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

    CARLA DOE,                                          §
                                                        §
                      Plaintiff,                        §         CIVIL CASE NO.
                                                        §
    v.                                                  §         _______________
                                                        §
    CASTLEWOOD TREATMENT CENTER,                        §
    LLC d/b/a ALSANA, and BRITTNEY                      §         JURY TRIAL DEMANDED
    GIBBS,                                              §
                                                        §
                                                        §
                     Defendants.                        §


                           PLAINTIFF’S ORIGINAL COMPLAINT

         Carla Doe1, (“Plaintiff”), hereby sues Defendants, Castlewood Treatment Center,

LLC d/b/a Alsana (“Castlewood”) and Brittney Gibbs (“Gibbs”), and alleges as follows:

                                              Introduction

1.       This is an action for substantial and irreparable physical, emotional, and

psychological harm that Gibbs – and her employer, Castlewood - perpetrated on Plaintiff

during the course of what was to have been life-saving treatment for an eating disorder.

It is predicated on theories of negligent hiring, supervision, and training, negligent and

intentional infliction of emotional distress, negligence, and fraud by non-disclosure.




1
  Because mental illness and substance use disorders remain subject to pervasive stigma, Plaintiff has
legitimate concerns about publicly disclosing her identity. For that reason, Plaintiff has chosen to file this
action pseudonymously, using the fictitious name “Carla Doe.” The identity of Plaintiff will be fully disclosed
to Defendants and to the Court, so long as such identifying information is not released into the public
record. Plaintiff’s motion to proceed under a pseudonym has been filed.

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                              JURISDICTION AND VENUE

2.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 because there is complete diversity of citizenship between Plaintiff and Defendants

and the amount in controversy exceeds $75,000.

3.      Venue is proper in the United States District Court for the Eastern District of

Missouri pursuant to 28 U.S.C. § 1391(b)(2) because Castlewood was incorporated in the

State of Missouri and conducts business in this district. In addition, a substantial part of

the events giving rise to Plaintiff’s claims occurred in St. Louis County, Missouri.

4.      Divisional venue is proper in the Eastern Division because a substantial part of the

events leading to the claim for relief arose in St. Louis County.

                                           PARTIES

5.      Plaintiff is, and at all times material to this Complaint, was a citizen of the State of

Washington.

6.      Gibbs is, and, at all times material to this Complaint, was a citizen of Missouri. She

may be served with process at her home address: 229 Presswick Lane, St. Louis, Missouri

63303. Plaintiff’s counsel has requested Biggs’ counsel to accept service through a Waiver

of Service.

7.      Castlewood is, and, at all times material to this Complaint, was a limited liability

company organized and existing under the laws of Missouri with its principal place of

business in Ventura County, California. Castlewood is not a publicly traded company, and

at this time, its members cannot be definitively identified. Plaintiff’s counsel sent a

written request to Castlewood’s attorneys asking them to identify the name and

citizenship of Castlewood’s members. Castlewood’s attorneys did not respond to this

request.


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8.      Plaintiff’s attorney conducted an online search to determine the members of

Castlewood. That search included, inter alia, the Secretary of State records in every state

in which Castlewood conducts business. Plaintiff’s counsel also researched a number of

private equity focused websites for that information, including, but not limited to:

Bloomberg, Pitchbook, PE Hub, Dun & Bradstreet, upcounsel, and preqin. In addition,

Plaintiff’s counsel searched prior lawsuits in which Castlewood was or is a party and spoke

with other attorneys who had been involved with Castlewood litigation in the past.

Plaintiff’s counsel has in the past represented joint venture capital entities and private

equity companies. Plaintiff’s counsel requested assistance from those entities to

determine whether they could ascertain the identity of Castlewood’s members. However,

those entities likewise did not have success.

9.      The entity2 which acquired Castlewood in January of 2017 also later acquired an

entity known as “Castlewood West, LLC” in California. Castlewood West’s principal place

of business is also in Ventura County, California. The business conducted by Castlewood

and Castlewood West are the same.

10.     In a contract between Castlewood West and the County of Alameda, California

Castlewood West represents that, “Castlewood West, LLC (Castlewood West) dba Aslana

[sic.] … provide(s) intensive outpatient treatment (IOT), partial hospitalization (PHP),

and residential treatment specifically tailored to the needs of adolescents and adults with

serious eating disorders (EDs). Clients referred to Castlewood West will be placed in their

residential treatment center located in Pacific Grove, CA.” This treatment is identical to

the treatment provided by Castlewood.


2
 This entity is Riverside Partners, LLP d/b/a The Riverside Company (“Riverside”). Although Riverside is
not named as a party in the instant case, its ownership of Castlewood and Castlewood West is material to
the issue of jurisdiction and the element of intent in some of the claims plead against Castlewood.

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11.      The members of Castlewood West are disclosed in corporate documents filed with

the California Secretary of State. The members of California West are as follows:

                               Castlewood West, LLC. Members

                 Name                  Designation                  State

              Michael Eblin       Senior Operating Partner          Ohio
             Loren Schlachet         Managing Partner              Florida
               Gayle Devin                  CEO                    Illinois
              Robyn Walsh             President – ABI            Connecticut
                                     Document Support
                                           Service
              Peter Zucker             Board Member               California
                                    Exec. Chair of Board



12.      Even though the members of Castlewood are not disclosed in public filings, on July

10, 2019, Castlewood filed a Change of Registered Agent with the Missouri Secretary of

State. Castlewood’s representative on this document was John McKernan. McKernan was

previously listed as a member of Castlewood West, LLC. A number of websites also list

Castlewood’s principal place of business in Thousand Oaks, Ventura County, California at

the exact address listed for Castlewood West.

13.      Further, when a patient is accepted into one of the Castlewood entities, she is told

that they could go to “Castlewood West” or “Castlewood East” depending on their

location, their desires and whether their insurance is in network for the entities within

those regions. In addition, Castlewood conducts “virtual treatment” utilizing a team of

employees from various Castlewood locations. These employees are interchangeably

employed by Castlewood and Castlewood West.

14.      Riverside, the owner of Castlewood and Castlewood West has represented that

those two entities are identical. To this end, on June 11, 2018, Riverside issued a press

release stating that it had acquired “La Ventana Treatment Programs, a California based



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provider of eating disorder programs, as an add-on for is Castlewood platform.” In said

press release, Riverside managing partner, Loren Schlachet stated, “This addition

establishes Castlewood as one of the largest providers of eating disorder treatment in

California.”

15.     On June 8, 2018, “Alsana” [even though it was not yet in existence] announced

that, “Alsana Treatment Centers, a leading provider of eating disorder treatment,

currently operating in three states in the U.S. has today announced the acquisition of the

eating disorder assets of La Ventana Treatment Programs.” Since Castlewood West and

Castlewood treat themselves as one entity, for the purposes of jurisdiction and other

issues in the case at bar, so too should the Court treat them as one.

16.     Based upon:

        (a) the undersigned’s thorough investigation into this matter;

        (b) the fact that Castlewood and Castlewood West share a principal place of

        business;

        (c) the fact that the two entities share a CEO;

        (d) patients are assigned to a Castlewood entity depending on their location,

        preference and insurance requirements;

        (e) Castlewood/Alsana and Castlewood West in public representations treat

        themselves as one entity, and;

        (f) the two entities provide identical services.

        Plaintiff alleges, upon information and belief, that the members of Castlewood and

their respective citizenship are the same as Castlewood West set forth in Paragraph 11.3


3
  The Eighth Circuit has not yet ruled on whether a plaintiff should be allowed to plead jurisdictional
allegations on information and belief. There is a split in the Circuit Courts on this issue. However, Plaintiff
submits that the evolving caselaw is to permit a plaintiff to plead jurisdictional allegations on information

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Upon information and belief, none of the members of Castlewood are citizens of the State

of Washington, the state in which Plaintiff has established her citizenship and as such,

complete diversity of citizenship exists.

17.     Further, when Castlewood files its answer in this matter, it is required to file Form

MOED 0001 – Disclosure of Organizational Interests. Section 2 of said form requires

Castlewood to disclose the names and citizenship of its members.

18.     Plaintiff’s counsel sent a Waiver of Service to counsel for Castlewood. In the event

that Castlewood’s counsel does not waive service, Castlewood may be served with a copy

of this Complaint by and through its registered agent, to wit: CT Corporation, 120 South

Central Avenue, Suite 400, St. Louis, Missouri 63105.

             GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

19.     Plaintiff is a loving wife, mother and daughter. Plaintiff’s husband proudly served

in the United States military both domestically and abroad. And yet, Plaintiff also suffers

and for approximately seventeen (17) years prior to her admission to Castlewood, has

suffered from one or more types of eating disorders as defined by the Diagnostic and

Statistical Manual Fifth Edition (“DSM-V”) and various co-occurring conditions.4 As part

of her efforts to recover from this deadly mental illness, Plaintiff sought treatment at

Castlewood.

20.     Upon her arrival at Castlewood on May 14, 2021, when Plaintiff got out of a

transportation car she was instantly overwhelmed with the smell of sewage, and noticed


and belief after conducting a due diligence investigation. See, e.g., Carolina Cas. Ins. Co. v. Team Equip.,
Inc., 741 F.3d 1082, 1087 (9th Cir. 2014) ("plaintiff should be permitted to plead jurisdictional allegations
... on information and belief and without affirmatively asserting specific details"); Lincoln Ben. Life Co. v.
AEI Life, LLC, 800 F.3d 99 (3d Cir. 2015) ("[d]epriving a party of a federal forum simply because it cannot
identify all of the members of an unincorporated association is not a rational screening mechanism").
4
 Eating disorders are life-threatening illnesses that afflict an estimated 29 million Americans and are the
third most common chronic illness among adolescents.

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exposed pipes and water being drained into the yard of the property. Plaintiff was greeted

by staff members who then took her belongings to search and lead her to the nursing

station to begin her admission process.

21.    Plaintiff was given a journal and a water bottle filled with water from their water

coolers. Plaintiff was told not to use the tap water because it was not potable and there

were pipe issues.

22.    A Castlewood employee told Plaintiff that her primary therapist was a male named

Jason and a dietician female named Hollie. Plaintiff expressed that she would prefer not

to have a male therapist. Plaintiff was not comfortable working behind closed doors with

a male because of past trauma history with men.

23.    The following day after breakfast, Plaintiff was visibly upset and crying because she

was missing her two young children (who were 6 and 1 years old at that time), her

husband, and her support system in Washington.

24.    Gibbs approached Plaintiff asking if she wanted to talk. Plaintiff initially told her

no. Approximately twenty (20) minutes later, Gibbs again approached Plaintiff and asked

if Plaintiff was sure she did not want to talk.

25.    Gibbs obviously saw how vulnerable Plaintiff was. This time, Plaintiff said yes.

Gibbs, who was still in training and was not a licensed therapist, took Plaintiff to the

basement of the house. Plaintiff told Gibbs that she missed her children and husband.

Plaintiff continued to express her struggles, anxiety and depression. Gibbs then asked

Plaintiff, “who hurt you?”

26.    Plaintiff told Gibbs that she had experienced trauma as a child. Plaintiff then

expressed her concern being assigned a male therapist and expressed that her trauma

history was her reason for the request to switch to a female therapist. Gibbs assured


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Plaintiff that was a reasonable request that encouraged her to ask that Gibbs be assigned

to work with her.

27.     Gibbs represented that she had her PLPC and had 8 years of experience working

with trauma in therapy. Gibbs further stated while she did not yet have any clinical

experience with eating disorders, she had suffered from her own, including during the

pregnancy of her daughter. Gibbs represented that she was now recovered so she

understood Plaintiff’s eating disorder and what it means to be a mom.

28.     Based on Gibbs’ representations, Plaintiff believed she had found a professional

who had real life knowledge of the issues with which Plaintiff struggled and was filled with

hope.

29.     On Monday, May 17, 2021, Castlewood asked Plaintiff to meet with the male

therapist, to whom she had been originally assigned. Plaintiff relented but when she met

with the therapist, Plaintiff expressed to him that she didn’t feel comfortable working one-

on-one with him. It was suggested that Gibbs could be on her therapist team if the

caseloads allowed for it.

30.     On Tuesday, May 18, 2021, Anastasia Theisen, the lead therapist at Castlewood’s

Hawthorne location contacted Plaintiff via email to communicate Castlewood’s process

when considering a therapist switch. Theisen stated that Gibbs was still in training so she

recommended that the male therapist and Gibbs work jointly with Plaintiff.

31.     Plaintiff initially reluctantly agreed to this arrangement but after discussing this

plan with her husband, Plaintiff wrote to Theisen and stated her belief that working with

a male therapist in any sense would compromise her recovery. Theisen later told Plaintiff

that she could work solely with Gibbs. Theisen did not offer any other female therapists.




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32.    Plaintiff then began sessions with Gibbs. From the start, Gibbs focused on

Plaintiff’s past trauma. Gibbs attempted to relate to Plaintiff’s experiences by stating that

she had been traumatized as a child. Gibbs then began to plant the seeds aimed at driving

a wedge between Plaintiff and her husband. She began by questioning Plaintiff about her

relationship with her spouse. When Plaintiff stated that her husband gave her love and

unconditional support and that she didn’t deserve it, Gibbs asked Plaintiff if her husband

made her believe she wasn’t worthy of that love. When Plaintiff responded no, Gibbs

asked if Plaintiff was sure because Gibbs stated that Plaintiff developed that belief from

someone.

33.    Gibbs represented that she could work Plaintiff through her trauma but she wasn’t

going to follow “original modalities'” because she had a “unique approach” to trauma

therapy. Gibbs’ “unique approach” was based upon her need to address her own trauma

by transferring the darkness and toxicity that she harbors inside herself to Castlewood

patients. In the case of Plaintiff, this twisted and damaging practice manifested itself in

a manipulative scheme intended to disrupt and, ultimately, destroy Plaintiff’s

relationship with her husband and her children.

34.    During the first family session, Plaintiff’s husband expressed his desire that Gibbs

be on camera during the session. Gibbs later told Plaintiff that she thought Plaintiff’s

husband was a narcissist. Plaintiff told Gibbs that could not be true because her husband

loved her too much. Gibbs replied by questioning whether what he actually loved was

having power over Plaintiff when and because she was sick.

35.    Gibbs commented that Plaintiff’s body language seemed guarded during the Zoom

session. After each successive session with Plaintiff’s husband, Gibbs focused on the

“signs” she saw proving he was a narcissist.


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36.     During Gibbs individual sessions with Plaintiff, on many occasions Gibbs talked

about her own alleged personal struggles in life as a means to continue to cement the trust

she was deluding Plaintiff into believing she shared with Gibbs.

37.     On May 31, 2021, Plaintiff received an unexpected call telling her that, after a

lengthy battle with kidney disease, her best friend, Kayla Gray would probably not make

it through the night. When Plaintiff received this call, she dropped to her knees in tears

in the middle of the living room of Castlewood’s Hawthorne house. Plaintiff then

frantically looked for plane tickets to fly home to be able to be by her friend’s bedside in

her last moments.

38.     Plaintiff had other friends who were at the hospital who confided that even if

Plaintiff were to be able to find an available flight, she would not make it in time. Her

friends convinced Plaintiff that she was right where Kayla would want her to be, getting

the helped she needed. Plaintiff was able to say her goodbyes to her best friend over

Facetime with her other friends present. Very shortly thereafter, her best friend passed

away.

39.     In the following days of Plaintiff’s severe grief, Castlewood provided very little, if

any support. On the morning of June 1, 2021, Plaintiff asked if she could have an

individual counseling session before attending a scheduled group session. Plaintiff was

told she had to address this request with leadership. And so Plaintiff expressed her wishes

to meet with her therapist to Anastasia Theisen.

40.     Theisen told Plaintiff that Castlewood was not equipped to handle grief and that

Plaintiff could journal about it but Plaintiff needed to go to group and participate in family

therapy. Plaintiff told Theisen that her statement made Plaintiff feel like a mere number

in their system and not like a real person. Further, Castlewood did not even bring in a


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grief counselor t0 help Plaintiff and did not enact any security measures so that Plaintiff

would not self-harm.

41.     Instead, Castlewood continued to unleash Gibbs on Plaintiff without any

supervision. The following day, Gibbs had a session with Plaintiff. After that session,

Plaintiff was even more emotionally distressed, still malnourished, and not thinking

rationally. Since Castlewood has little or no security or safety measures in place, Plaintiff

was allowed to walk out Castlewood’s front door, down a long driveway to a pond, and

cross over to a field where there was a big tree that had fallen. Plaintiff wrapped her tank

top around her neck and started to hang herself from one of the tall branches sticking out

from the tree. Plaintiff’s tank top ripped ending her attempt to take her own life. As a

result, Plaintiff sat down on a tree log in great despair, crying for over one hour.

42.    After over an hour had gone by, the nurses station called Plaintiff asking where she

was. Plaintiff told them she was at the pond. Instead of immediately sending an employee

to come to Plaintiff’s aid, the Castlewood employee stated that if Plaintiff did not return

immediately, they were going to call the police.

43.    Upon returning to the house, a nurse saw the red marks on Plaintiff’s neck.

Castlewood called 911, an ambulance arrived and took her to Mercy Hospital in St. Louis.

The following day, Plaintiff explained to the attending doctor that she was in deep

mourning because of her friend while trying to recover from her eating disorder and as

such, she impulsively acted out. The doctor at Mercy Hospital, not understanding the

nightmare that is Castlewood, cleared Plaintiff to return to Castlewood.

44.    Upon returning to Castlewood, Plaintiff was forced to sign an agreement that

required her to sleep in a community space on a couch.




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45.    Gibbs’ manipulation of Plaintiff renewed with greater fervor. Gibbs required

Plaintiff to read her “Trauma Timeline” in an individual session and then a group session

she was attempting to conduct. Even though Plaintiff was sweating and insisting how

uncomfortable she was, Gibbs required her to continue. After Plaintiff struggled through

this group meeting, she was allowed to go to a couch in the basement by herself and cry

for three (3) hours.

46.    During almost every session, Gibbs had Plaintiff talk very little about her eating

disorder. Instead, Gibbs asserted that her issues were not about food. Gibbs instead

opined that Plaintiff’s eating disorder was merely a symptom of her unhappiness in life

and marriage with her husband. Gibbs continued to direct the sessions to Plaintiff’s

marriage. This allowed Gibbs to manifest imaginary red flags she saw in Plaintiff’s

marriage. The more Gibbs talked about the red flags that she concocted, the more

concerned Plaintiff became about the stability and toxicity of her marriage.

47.    Gibbs continue to tell Plaintiff that she was being manipulated by her husband and

that was why Plaintiff didn’t see what Gibbs saw. When Plaintiff’s husband requested

another therapist to lead their family sessions, Gibbs stated that her husband felt

threatened by what Gibbs was “helping” Plaintiff realize about her marriage. She even

went so far as to say that Plaintiff was not obligated to continue with family therapy.

48.    Gibbs continued her insidious scheme to hurt Plaintiff and Plaintiff’s family saying

repeatedly that Plaintiff was being manipulated by her husband, that she wasn’t seeing

her own worth, that Plaintiff’s husband wanted her to remain sick, that Plaintiff’s husband

wanted to take her kids from her, and that Plaintiff’s husband had all these terrible

intentions that Plaintiff could not see because he was a narcissist who was playing

Plaintiff.


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49.    Gibbs constantly reminded Plaintiff that it was common for victims to not see their

own abuse at the hands of a narcissist and that Plaintiff would wake up after she left him.

50.    Gibbs told Plaintiff she needed to be strategic so that her husband wouldn't have a

chance to manipulate her again. Gibbs consistently made references to how Plaintiff’s

husband was just a repeat of the trauma she had experienced as a child, that Plaintiff was

recreating her abuse with him and if Plaintiff stayed with him, she would never truly heal

or recover from her eating disorder.

51.    Gibbs even went so far as to utilize Plaintiff’s children against her. Gibbs stated

that if she continued to allow her husband to recreate this abuse, Plaintiff’s children would

never be happy if Plaintiff was with her husband.

52.    Gibbs told Plaintiff that if she did not leave her husband and secure sole custody

of her kids Plaintiff would die of her eating disorder or Plaintiff’s husband would control

her and keep her sick forever. Gibbs pulled threads and pieces of Plaintiff’s life that

Plaintiff had entrusted to Gibbs. Plaintiff was so vulnerable and honest with Gibbs, and

she used that to manipulate Plaintiff’s life like she was Gibbs’ pawn in a game of chess.

53.    Plaintiff’s interactions with Castlewood continued to deteriorate. On June 15, 2021

Plaintiff was taken to the emergency room by a Castlewood staff member for pelvic pain

and bleeding that had been on-going for 14 days. A Castlewood employee dropped her off

at the ER and immediately left. Plaintiff sat alone in the emergency room for

approximately five (5) hours before she was seen. Plaintiff missed over two weeks of

programming because of the severe pelvic pain she was experiencing.

54.    Castlewood told Plaintiff she could extend her stay into August to make up for time

missed while she was physically ill so they did not need to “worry about discharge

planning yet.”


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55.    Sessions with Gibbs became more coaching clinics on how to effectively leave her

husband. Gibbs stated that Plaintiff needed to consult a lawyer, talk to her family

members and explain the “abuse” Plaintiff’s husband was putting her through. Gibbs told

Plaintiff to be cold and distant with her husband and to absolutely not hug him, kiss him

or in any way be intimate with him because then Plaintiff would start having feelings again

and be subjected to his manipulation.

56.    Gibbs told Plaintiff that she needed to protect her energy, that if Plaintiff allowed

him to make her emotional or upset in any way, he would use it against Plaintiff. Gibbs

also stated that Plaintiff should be distant with him, refuse to go to couples therapy and

tell him that she still had love for him, but that she not in love with him. Gibbs then

recommended that only then she should file for divorce because if Plaintiff filed first, it

would look better.

57.    On July 14, 2021, just a few days after being told by her treatment team that

Plaintiff did not yet need to plan for discharge, Gibbs and her dietician told Plaintiff that

she would be discharging on July 21, 2021. When Plaintiff asked Gibbs about stepping

down to PHP, Gibbs said that Plaintiff did not need it. Gibbs emphasized that Plaintiff did

not need the next step in the treatment process in recovery from an eating disorder

because it wasn’t about the food. Gibbs emphasized it was about her marriage and if

Plaintiff left that she would be fine and wouldn’t have the struggles she then had.

58.    Gibbs stated that if Plaintiff left her husband, her own skin wouldn’t feel like a trap,

she wouldn’t have a desire to starve her body to silence her brain. Gibbs stated that she

wouldn't be afraid of her food touching or eating before noon any longer. Gibbs’ hate filled

onslaught continued by stating that:

       A.     Plaintiff wouldn't be afraid of her body taking up space on this earth;


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       B.     Plaintiff wouldn’t be afraid to eat food she used to love;

       C.     Plaintiff wouldn’t deprive herself of joy because food was somehow

       involved;

       D.     Plaintiff wouldn’t be afraid of feeling full so badly which made her throw up

       anytime she felt like that;

       E.     Plaintiff wouldn’t need to take handfuls of laxatives to control a number on

       a scale;

       F.         Plaintiff would find a sense of control over an overactive brain that

       controlled her entire life;

       G.     Plaintiff wouldn’t want to go days without water because she was afraid her

       starving body would hold onto it; and

       H.     Plaintiff wouldn’t want to shrink herself to death any longer more.

59.    Gibbs stated that if Plaintiff just got a divorce, those things would no longer be a

problem after 17 years. Gibbs’ reprehensible legion of lies came from a person who

admitted she had a darkness within her, that sometimes she just likes to hurt people and

who had no experience treating eating disorders.

60.    When Plaintiff returned home, Plaintiff made sure to establish and maintain

distance with her husband as Gibbs recommended. Gibbs also recommended that both

Gibbs and Plaintiff should stay in touch with another patient after both discharged.

61.    On the evening of July 23, 2021, that other patient Facetimed Plaintiff while she

was with Gibbs. Gibbs and the other patient stated they were together in a bar in St, Louis

having drinks and talking about Castlewood. Plaintiff, Gibbs and the other patient talked

for over one hour and Gibbs told them they needed to both leave their partners and then

they would all meet up in Arizona to see each other.


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62.    Gibbs told Plaintiff and the other patient more about her personal life, her sex life

and about her daughter and how she did not have custody of her because Gibbs threatened

her daughter’s step-mother and half-sister. Gibbs stated she wanted to kill the “retard”

and laughed like she was joking. The half-sister of her daughter is autistic.

63.    After they left the bar, Gibbs again Facetimed Plaintiff, stated they were driving

around to find food because the other patient, who had been discharged that very day was

throwing up and didn’t feel well. Gibbs was driving and the whole time she talked to

Plaintiff about how she was put into their lives for a reason and they needed to stay close

to her so they wouldn’t relapse into their eating disorder. Gibbs took the just discharged,

throwing up, other patient to White Castle.

64.    The following day, the other patient again Facetimed Plaintiff. The other patient

was at Gibbs apartment with Gibbs and her daughter. They had made food, watched

movies and talked for hours. Gibbs assured Plaintiff and the other patient that what they

needed to do was to make a plan and leave their narcissist abusive partners and they could

talk every day for support.

65.    After Plaintiff had spoken to her mother about the thoughts which had been

implanted by Gibbs about Plaintiff’s husband, Gibbs began to give Plaintiff advice on what

to say to her parents and reminded Plaintiff on the “work” they had done at Castlewood.

That night when Plaintiff’s husband asked Plaintiff why she was being distant, Plaintiff

used Gibbs words, “I have love for you, but I'm not in love with you.”

66.    Thereafter until November 20, 2021, Plaintiff spoke with Gibbs on a daily basis

through text messaging, TikTok messages, House party Video chat and What's App for

several hours a day. Sometime in August or September, the other patient stopped




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participating in the communications. When Gibbs was asked about this, Gibbs stated that

she had relapsed in her eating disorder and that Plaintiff should block her.

67.    Gibbs also encouraged Plaintiff not to go to PHP, but instead to go back to work so

she could have the financial means to leave her husband and to seek legal counsel. Gibbs

told Plaintiff stories about her life. Gibbs disclosed her own struggles with mental health.

Gibbs detailed what medications she took. Gibbs stated that she had healed all her

demons and she didn’t struggle anymore. Gibbs did say she had darkness within her.

Gibbs would video chat with Plaintiff every day after work and many times, she would be

drinking.

68.    At times, Gibbs would stay up until 3:00 a.m. and the following day, she wouldn't

remember their conversations because she was drunk during them. Gibbs would openly

drink alcohol and take Xanax. Gibbs expressed to Plaintiff that she had no one and if she

died no one would find her body for a long time because no one checks on her.

69.    Gibbs started dating an ex-boyfriend named Nick, and she would video chat

Plaintiff while Gibbs was drunk and naked with Nick and holding up her vibrator in the

video. Gibbs also told Plaintiff how she didn’t speak to anyone in her family and hadn't

for years. Gibbs told Plaintiff she cut them out of her life because they didn’t believe her

trauma.

70.    Gibbs then asked Plaintiff to conduct an online search to determine if there was a

warrant for her arrest. The previous night, Gibbs got drunk in a bar and when the

bartender stopped serving her, Gibbs left and “keyed” the car belonging to the owner.

71.    Shortly thereafter, Plaintiff stayed with a friend for 2 weeks to “take a break from

her husband.” Although Plaintiff had doubts about filing for divorce, Gibbs kept

encouraging her to file. Gibbs stated she didn’t understand why Plaintiff wasn’t jumping


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to do it. But, it had very little time since Plaintiff had left treatment, and she had already

begun a relapse into her eating disorder because of the emotional/mental tug a war in

which Gibbs placed Plaintiff.

72.    Plaintiff was in mental agony. And yet, Gibbs kept bolstering her self-perceived

expertise by telling Plaintiff about current patients at Castlewood. Gibbs shared their

names, diagnoses, ages and other personal information, and what modalities' Gibbs was

using with them in therapy.

73.    Gibbs told Plaintiff that she was Plaintiff’s compass, that Plaintiff needed her for

direction. All the while, Plaintiff was slipping back into her eating disorder. Plaintiff was

medically declining, and Gibbs kept insisting that as soon as Plaintiff leaves her husband,

things will dramatically improve.

74.    Finally, Plaintiff broke down to her family and said she needed to move out of the

house and leave her husband if she was ever going to get better. Plaintiff moved into her

grandparents' house with her two sons the next day.

75.    Plaintiff was at a very fragile place with her eating disorder so she took a leave of

absence from work and over the next month medically declined even more. Plaintiff was

in the hospital several times due to medical complications from her eating disorder.

Plaintiff’s doctors and dietician all recommended that she seek inpatient level of care. But,

Plaintiff told them she wasn’t willing to go to treatment after her horrific experiences at

Castlewood.

76.    Plaintiff communicated with Gibbs about her medical status and what was being

recommended. Gibbs told Plaintiff that those doctors were just trying to scare her.

77.    The last time Plaintiff talked to Gibbs was on November 20, 2021. Plaintiff told

Gibbs she was in the hospital for a bowel obstruction. Gibbs did not respond. Finally,


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Plaintiff blocked Gibbs’ number after beginning to realize how much chaos Gibbs added

to her life.

78.     Gibbs recognized that Plaintiff was in the lowest, most vulnerable place, hundreds

of miles from home and her family. Plaintiff wanted help, peace and guidance. Gibbs

heard the things that Plaintiff wanted for herself and manipulated Plaintiff’s willingness

to take direction and used her role as a therapist to assert her “power”.

79.     On December 6, 2021, Plaintiff admitted to inpatient eating disorder treatment

where she was placed with an NG tube for 5 weeks. Plaintiff ultimately left that treatment

because even after 6 weeks of being there, Plaintiff was having a lot of transference and

could not separate her experience with Castlewood and the new treatment facility.

Plaintiff believed that they would manipulate her like Plaintiff had been manipulated at

Castlewood. Plaintiff could not engage in this life saving treatment because of the damage

Gibbs caused her.

                              Gibbs Mental Health and Self Loathing

80.     Castlewood employed Gibbs to serve as a therapist in or about May 2021. However,

Gibbs does not have a license as Social Worker, Professional Counselor, Occupational

Therapist or any other profession. And yet, Castlewood allowed Gibbs to have access to,

and provide individual counseling to patients, including Plaintiff.

81.     Upon information and belief, Castlewood did so without performing any

substantive background check on Gibbs. Had they simply searched Gibbs’ public and

readily accessible social media postings, they would have discovered a series of disturbing

blog articles written by Gibbs on her then Twitter feed5.



5
  Notwithstanding the fact that the undersigned: (1) notified Castlewood of the above-referenced
statements, his representation of Plaintiff, and his intention to file suit; and (2) demanded that Castlewood

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82.     The content of those articles is deeply disturbing, especially in light of the fact that

Castlewood subsequently placed Gibbs, with little or no supervision, in a vital and

authoritative position of trust with the most vulnerable of all populations of patients.

Gibbs’ now deleted articles included the following statements:

        "Fuck love. Love hurts. Get a hobby."

        "I reflected and realized I hurt others on purpose because it makes me feel

        good." ... "There's a darkness in me ..."

        "I can be toxic to the people I love."

        "I participated in the toxic behaviors I didn't know any better, and

        sometimes I knew better but did not care."

        "But, some days I hate myself, and I cause hell in other people's lives."

        "One day I won’t say things to people strictly to hurt them."

        “I became strong built from rage, and hate.”

        “My mother hates me.” “The relationship with my mom now … Well she

        lives four houses down, and cant [sic.] look at me passing by.

        “I have one sibling out of 4 that [sic.] communicate [sic.] with me. Yes, that’s

        her manipulation.”

        “My mom looks at me with such hatred I start to look at myself with the

        same view.”

        “I didn’t receive a call from my mother apologizing, or asking how I’m doing.

        She strictly cut me from her life as if I was the umbilical cord.”




and Gibbs take steps to preserve all evidence that could potentially be pertinent to Plaintiff’s claims, Gibbs’
Tik-Tok and Twitter accounts subsequently disappeared.

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       “That my lady is savage, and I commend you because you won this game of

       cruelty mom.”

83.    The American Psychiatric Association defines “antisocial personality disorder” as,

“the presence of a chronic and pervasive disposition to disregard and violate the rights of

others. Manifestations include repeated violations of the law, exploitation of others,

deceitfulness, impulsivity, aggressiveness, reckless disregard for the safety of self and

others, and irresponsibility, accompanied by lack of guilt, remorse, and empathy. The

disorder has been known by various names, including dissocial personality, psychopathic

personality, and sociopathic personality. It is among the most heavily researched of the

personality disorders and the most difficult to treat. It is included in both DSM–IV–

TR and DSM–5.”

84.    The public generally refers to a person who demonstrates these qualities as a

“sociopath.” Gibbs is the quintessential embodiment of that definition.

85.    Had Castlewood conducted a deeper investigation, it would have discovered that

Gibbs had lost custody of her child due to mental health issues and that she had been fired

from previous employment.

86.    For reasons unknown to Plaintiff, Castlewood allowed Gibbs to lead individual

therapy with Plaintiff before Gibbs had received her professional license and before she

completed her alleged training.

87.    During these so-called therapy sessions, Gibbs admitted to Plaintiff and other

persons that she wasn’t familiar with basic “treatment” modalities that Castlewood

represents its therapists use. She further admitted that she hadn’t had any eating disorder

training, that she had just started working at Castlewood and that she wasn’t licensed.




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88.    The “therapy” Gibbs provided Plaintiff included showing her videos Gibbs had seen

on TikTok. Gibbs even showed Plaintiff her personal TikTok posts. Gibbs advised Plaintiff

that no one would know if she (Plaintiff) “followed” Gibbs, but that she (Gibbs) wouldn’t

“follow” Plaintiff back while she was still a patient in case someone was able to see that

and get her in trouble.

89.    Gibbs further stated that she thought Castlewood’s program was “horrible” and

that she was only planning to be there to get the hours needed for her license and try to

make some changes to the program and then she would leave.

90.    Gibbs talked negatively about other clinicians at Castlewood and disclosed details

about their personal lives and why Gibbs believed they act the way they do, and that

Plaintiff and others shouldn’t trust them.

91.    Gibbs further stated that she reads books and does research to try to find ways to

have power over people, how she had figured out everyone else who works at Castlewood

and how she can manipulate them into doing what she wants. She even went so far as to

say she wouldn’t send her own daughter to Castlewood if she needed help.

92.    Gibbs also stated that she just wished she could be friends with Plaintiff outside of

therapy. Gibbs stated that she doesn’t follow all of the rules and she still talks to some of

the kids that she worked with from her previous job. Gibbs told Plaintiff and others to lie

and say that Plaintiff could get her phone at night for spiritual reasons because if Plaintiff

said that then she would be allowed to have it when other patients weren’t. Gibbs

confirmed that she could find ways around anything.

93.    On November 23, 2021, Plaintiff’s counsel contacted attorneys then representing

Castlewood in another matter being brought by a former patient of Castlewood who was




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also represented by Plaintiff’s counsel. This communication warned Castlewood of Gibbs’

character and demanded that they preserve all possible evidence.

94.    Castlewood’s then counsel represented that the correspondence had been sent to

Castlewood. After that correspondence was received by Castlewood, Gibbs deleted her

TikTok Account. And despite a demand that Gibbs cease all communications with

Plaintiff’s counsel’s clients, the very next day, Gibbs attempted on two occasions to

contact Plaintiff. A second letter was then sent to Castlewood through counsel informing

Castlewood that their employee was continuing with her behavior.

95.    On Friday, December 17, 2021, Plaintiff’s counsel discovered that despite having

actual knowledge of Gibbs’ predatory nature, Castlewood stood behind and supported

Gibbs by retaining her as an employee. A predator employee conducting group sessions.

A predator employee conducting individual sessions. A predator employee with access to

persons suffering from the mental illness with the second highest mortality rate among

all mental illnesses.

96.    Plaintiff’s claims against Gibbs resulted in the discovery of an avalanche of

additional issues and reprehensible conduct perpetrated by other Castlewood employees.

On January 26, 2022, Gayle Devin, the current CEO of Castlewood issued a press release

admitting that Castlewood “recently learned that … direct care employees might have

been involved in inappropriate conduct involving a client receiving outpatient care at our

St. Louis program. Based on our initial review, the allegations involve significant

violations of company policy, and we have taken immediate action, including terminating

employees and removing employees who remain under investigation from any client

setting.”




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97.    Plaintiff discovered that some websites alleged as many as four (4) additional

employees besides Gibbs are involved with patients alleging illegal drug use, alcohol use,

sexual activity and other improper and unethical fraternization.

98.    Gibbs is simply one of the latest chapters in what has been the sordid and shameful

history of Castlewood. This history includes, but is not limited to:

           •   A series of lawsuits brought by Lisa Nasseff and others against Castlewood

               and its founder, Schwartz accusing Schwartz of implanting false memories

               of sexual abuse, satanic cult activity, brainwashing and hypnosis that

               ultimately led to the resignations of Schwartz and Galperin.

           •   Accusations of Castlewood having violated the Americans with Disabilities

               Act brought by a woman who had a serious eating disorder, who allegedly

               was promised, but ultimately denied admission because she was HIV+ -

               claims that were successfully prosecuted by the United States Justice

               Department.

           •   The Missouri Committee of Psychologists 2017 censure of Schwartz after a

               patient complained in 2013 about a lack of supervision at Castlewood, the

               investigation into which revealed that while Schwartz and Galperin were

               directors at the Masters and Johnson Trauma units at Two Rivers

               Psychiatric Hospital in Kansas City and also at River Oaks Hospital in New

               Orleans, lawsuits were filed against these hospitals for implanting

               memories of multiple personality and satanic ritual abuse;

           •   Castlewood’s hiring in April 2013 of Nicole Siegfried, who, for at least the

               nine (9) months prior to her being hired, had been investigated by the

               Alabama Board of Examiners in Psychology and placed on probation and

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               practice supervision for one year for ... "failure to document professional

               work and maintain records and engaging in a multiple relationship, patient

               harm and exploitive relationship;”

           •   Accusations by a current Castlewood employee in July 2021, that:

               “Leadership is very inexperienced. Due to high turnorver [sic.] and dificulty

               [sic.] with finding qualified applicants in the surrounding area, there have

               been quite a few internal transitions that are not effective. Newly licensed

               individuals can/have become part of leadership or promoted within

               leadership without leadership experience! Those with lesser experience do

               not feel confident in receiving feedback from those who, frankly. barely

               know what they are doing themselves. There is a push toward only one or

               two modalities of treatment (IFS and attachment theory), with little insight

               or training to other effective modalities. There is also very little

               understanding of the impact of comorbid or co-occuring diagnosis on eating

               disorders, thereby lessining [sic.] the effectiveness of the treatment;

           •   Blatant misrepresentations regarding its treatment protocol and the

               efficacy of the treatment afforded, specifically that its treatment regimens

               are “evidenced based”, when, in truth, they are anything but;

           •   In January 2021, being sued for violating HIPAA laws;

           •   Creating and fostering a racially hostile environment in which African

               American patients are denigrated.

99.    Gibbs’ reprehensible conduct which proximately caused Plaintiff’s damages was

not just foreseeable but inevitable since Castlewood operates its facilities in a manner that



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is designed to maximize profits at the expense of providing quality mental health

treatment and ensuring the safety of those entrusted to their care.

                              Causes of Action as to Gibbs

                                            Count One

                    Intentional Infliction of Emotional Distress

100.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

101.   Gibbs, as an alleged therapist providing therapy and counseling occupied a special

place of trust and confidence and owed to Plaintiff a fiduciary duty and a high place of

trust. However, Gibbs breached her fiduciary duties and intentionally inflicted emotional

distress upon Plaintiff.

102.    Gibbs’ above-mentioned conduct was so outrageous in character and so extreme

in degree, as to go beyond all possible bounds of decency, was atrocious, and utterly

intolerable in a civilized community. In a horrific attempt to assuage her own demons,

insecurities and self-loathing, Gibbs hunted for future victims onto whom she could

transfer her own rage and hatred. With malice aforethought, Gibbs sought to hurt Plaintiff

in the worst possible manner … by destroying Plaintiff and Plaintiff’s family.

103.   Gibbs knew that Plaintiff was particularly susceptible to emotional distress. As

such, Gibbs knew or should have known that her conduct involved an unreasonable risk

of causing the injuries and damages sustained by Plaintiff.

104.   As a proximate result of the foregoing intentional wrongful acts of Gibbs, Plaintiff

suffered and will continue to suffer medically significant damages as well as both mental

and emotional injuries, including, but not limited to, worsening of her eating disorder,

trauma and co-occurring mental health issues, humiliation, and anxiety, as described


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hereinabove. Plaintiff’s damages exceed the minimum jurisdictional limits of this Court

for which Plaintiff herein sues.

105.   Gibbs’ conduct clearly evidences an evil motive or reckless indifference or Gibbs’

conduct was outrageous. Gibbs intentionally harmed Plaintiff without just cause or acted

with a deliberate and flagrant disregard for the safety of others. Accordingly, Gibbs’

conduct justifies an award of punitive damages in an amount adequate to punish the

wrongful conduct alleged herein and to deter such conduct in the future.

                                            Count Two

                     Negligent Infliction of Emotional Distress

106.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

107.   Gibbs had a duty to Plaintiff to exercise the highest degree of care for Plaintiff’s

health, welfare and safety. Gibbs, as an alleged therapist providing therapy and

counseling to Plaintiff, occupied a special place of trust and confidence and owed to

Plaintiff a fiduciary duty to only act in Plaintiff’s best interest. Despite having this

knowledge and duty, Gibbs negligently inflicted emotional distress upon Plaintiff.

108.   As an alleged therapist, Gibbs, had the duty to not only not inflict injury upon

Plaintiff, but also to protect Plaintiff from injury. Gibbs intentionally and/or negligently

violated her duty to Plaintiff through her actions set forth in the above-referenced

paragraphs.

109.   Gibbs knew that Plaintiff was particularly susceptible to emotional distress. As

such, Gibbs knew or should have known that her conduct involved an unreasonable risk

of causing the injuries and damages sustained by Plaintiff. In a horrific attempt to assuage

Gibbs of her own demons, insecurities and self-loathing, Gibbs hunted for future victims


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onto whom she could transfer her rage and hatred. With malice aforethought, Gibbs

sought to hurt Plaintiff in the worst possible manner … by destroying Plaintiff and

Plaintiff’s family. Plaintiff’s damages are so severe that she requires medical and mental

health treatment and as such, Plaintiff’s damages are medically significant.

110.      As a proximate result of the foregoing intentional wrongful acts of Gibbs, Plaintiff

suffered and will continue to suffer medically significant damages as well as both mental

and emotional injuries, including, but not limited to, worsening of her eating disorder,

trauma and co-occurring mental health issues, humiliation, and anxiety, as described

hereinabove. Plaintiff’s damages exceed the minimum jurisdictional limits of this Court

for which Plaintiff herein sues.

111.      Gibbs’ conduct clearly evidences an evil motive or reckless indifference or that

Gibbs’ conduct was outrageous. Gibbs intentionally harmed Plaintiff without just cause

or acted with a deliberate and flagrant disregard for the safety of Plaintiff. Accordingly,

Gibbs’ conduct justifies an award of punitive damages against Gibbs in an amount

adequate to punish the wrongful conduct alleged herein and to deter such conduct in the

future.

                                         Count Three

                                         Negligence

112.      Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

113.      Gibbs, as an alleged therapist providing therapy and counseling occupied a special

place of trust and confidence and owed to Plaintiff a fiduciary duty and as high place of

trust. Despite having this knowledge, Gibbs, breached her fiduciary duties and violated




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her duty to exercise reasonable care towards Plaintiff as set forth in the above referenced

paragraphs.

114.   Gibbs knew that Plaintiff was particularly susceptible to emotional distress. As

such, Gibbs knew or should have known that her conduct involved an unreasonable risk

of causing the injuries and damages sustained by Plaintiff. In a horrific attempt to assuage

Gibbs of her own demons, insecurities and self-loathing, Gibbs hunted for future victims

onto whom she could transfer her rage and hatred. With malice aforethought, Gibbs

sought to hurt Plaintiff in the worst possible manner … by destroying Plaintiff and

Plaintiff’s family. Plaintiff’s damages are so severe that she requires medical and mental

health treatment and as such, Plaintiff’s damages are medically significant. In addition,

Plaintiff’s damages are so severe that she requires medical and mental health treatment

and as such, Plaintiff’s damages are medically significant.

115.   As a proximate result of Gibbs’ alleged foregoing wrongful acts, Plaintiff suffered

and will continue to suffer medically significant damages as well as both mental and

emotional injuries, including, but not limited to, worsening of her eating disorder, trauma

and co-occurring mental health issues, humiliation, and anxiety, as described

hereinabove. Plaintiff’s damages exceed the minimum jurisdictional limits of this Court

for which Plaintiff herein sues.

116.   Gibbs conduct clearly evidence an evil motive or reckless indifference or Gibbs’

conduct was outrageous. Gibbs intentionally harmed Plaintiff without just cause or acted

with a deliberate and flagrant disregard for the safety of others. Accordingly, Gibbs’

conduct justifies an award of punitive damages against Gibbs in an amount adequate to

punish the wrongful conduct alleged herein and to deter such conduct in the future.

                                        Count Four


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                                       Recklessness

117.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 62, as if fully set forth herein.

118.   Plaintiff brings this claim against Gibbs under a recklessness cause of action.

Recklessness is a separate cause of action from negligence and does not require a finding

of negligent conduct. Under a recklessness theory, a plaintiff need only prove that a

defendant's conduct is in reckless disregard of the safety of another; if she intentionally

does an act or fails to do an act which it is her duty to the other to do, knowing or having

reason to know of facts which would lead a reasonable person to realize that the actor's

conduct not only creates an unreasonable risk of bodily harm to the other but also involves

a high degree of probability that substantial harm will result.

119.   Gibbs as an alleged therapist providing services occupied a special place of trust

and confidence and owed to Plaintiff a fiduciary duty and a high place of trust. Despite

having this knowledge, Gibbs was reckless in her conduct and actions.

120.   Gibbs knew that Plaintiff was particularly susceptible to emotional distress. As

such, Gibbs knew or should have known that her conduct involved an unreasonable risk

of causing the injuries and damages sustained by Plaintiff. In a horrific attempt to assuage

Gibbs of her own demons, insecurities and self-loathing, Gibbs hunted for future victims

onto whom she could transfer her rage and hatred. With malice aforethought, Gibbs

sought to hurt Plaintiff in the worst possible manner … by destroying Plaintiff and

Plaintiff’s family. Plaintiff’s damages are so severe that she requires medical and mental

health treatment and as such, Plaintiff’s damages are medically significant. In addition,

Plaintiff’s damages are so severe that she requires medical and mental health treatment

and as such, Plaintiff’s damages are medically significant.


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121.   As a proximate result of Gibbs’ foregoing wrongful acts, Plaintiff suffered and will

continue to suffer medically significant damages as well as both mental and emotional

injuries, including, but not limited to, worsening of her eating disorder, trauma and co-

occurring mental health issues, humiliation, and anxiety, as described hereinabove.

Plaintiff’s damages exceed the minimum jurisdictional limits of this Court for which

Plaintiff herein sues.

122.   Gibbs conduct clearly evidences an evil motive or reckless indifference or Gibbs’

conduct was outrageous. Gibbs intentionally harmed Plaintiff without just cause or acted

with a deliberate and flagrant disregard for the safety of Plaintiff. Accordingly, Gibbs’

conduct justifies an award of punitive damages against Gibbs in an amount adequate to

punish the wrongful conduct alleged herein and to deter such conduct in the future.




                          Causes of Action as to Castlewood

                                            Count One

                                     Negligent Hiring

123.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

124.   Castlewood was negligent in hiring Gibbs.

125.   Prior to offering employment to Gibbs, Castlewood had the duty to conduct a due

diligence investigation into Gibbs’ background and personal history. Had Castlewood

conducted even the most rudimentary due diligence, such as searching Gibbs’ social

media posts, Castlewood would have discovered that:


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       A.      Gibbs lost custody of her own biological child because of Gibbs’ emotional

       and mental instability;

       B.      Gibbs published articles expressing her hatred for her mother;

       C.      Gibbs published articles stating that she liked to sometimes hurt people

       because it made her feel good;

       D.      Gibbs published articles indicating that she participated in toxic behaviors

       because she didn't know any better, and sometimes she knew better but did not

       care;

       E.      Gibbs published articles indicating that, "… some days I hate myself, and I

       cause hell in other people's lives.”

       F.      Gibbs published articles indicating that she did not believe in love, that

       people should get a hobby instead.

       G.      Gibbs was fired from previous employment.

126.   As such, Castlewood knew, or should have known of Gibbs’ dangerous proclivities.

However, upon information and belief, Castlewood chose to conduct no effective due

diligence. To obtain the information set forth in the prior paragraph, Castlewood only

needed to conduct a google search utilizing the term, “Brittney Gibbs social media.” This

search would have disclosed Gibbs’ Twitter account which contained the offending and

offensive articles. Instead, Castlewood decided to employ a predator and let loose this

predator on her victims, including, but not limited to, Plaintiff.

127.   As a proximate result of the foregoing wrongful acts of Castlewood, Plaintiff

suffered and will continue to suffer both mental and emotional injuries, including, but not

limited to, worsening of her eating disorder, trauma and co-occurring mental health




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issues, humiliation, and anxiety, as described hereinabove. Plaintiff’s damages are in

excess of the jurisdictional limits of this Court for which Plaintiff herein sues.

128.    Castlewood’s conduct clearly evidences an evil motive or reckless indifference or

Castlewood’s conduct was outrageous. Castlewood intentionally harmed Plaintiff without

just cause or acted with a deliberate and flagrant disregard for the safety of Plaintiff.

Accordingly, Castlewood’s conduct justifies an award of punitive damages against

Castlewood in an amount adequate to punish the wrongful conduct alleged herein and to

deter such conduct in the future.

                                            Count Two

                                    Negligent Training

129.    Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

130.    Castlewood was negligent in its training, if any, of Gibbs.

131.    Castlewood owed the general public, particularly the patients who are admitted to

Castlewood and their families, including, but not limited to, Plaintiff, the highest duty to

properly train its employees in all aspects of providing the most effective, evidence-based

treatments of eating disorders and its many co-occurring illnesses. Since eating disorders

are one of the more complex mental illnesses, therapists must have a thorough

understanding, and working knowledge of the biological and psychological aspects of this

illness.

132.    Castlewood failed to train its employees, including, but not limited to, Gibbs in

that:




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       (1).   Castlewood did not conduct training sessions on the various, evidence-

based treatments of eating disorders, which such training has been vetted, approved and

implemented by reputable eating disorder professionals, organizations or agencies;

       (2).   Castlewood, at most, trains its employees only on its own treatment

protocols, protocols which have not been researched, studied, approved or adopted by

any reputable, third party;

       (3).   Castlewood does not utilize nor require its employees to engage in role

playing methods of assessment during whatever alleged training it purportedly gives to

its employees;

       (4).   Castlewood does not adhere to any generally acceptable or recommended

standards of training set forth by the American Psychiatric Association or American

Psychology Association;

       (5).   Castlewood does not educate its therapists on safe boundaries with patients

or the manner in which to best serve their patients’ complex needs.

133.   Castlewood does not train its counselors, therapists, direct care personnel, nurses,

medical personnel or mental health personnel in generally accepted treatment guidelines

and standards utilized by eating disorder professionals.

134.   Because Castlewood does not adequately train its employees, Plaintiff suffered and

will continue to suffer both mental and emotional injuries, including, but not limited to,

worsening of her eating disorder, trauma and co-occurring mental health issues,

humiliation, and anxiety, as described hereinabove. Plaintiff’s damages are in excess of

the jurisdictional limits of this Court for which Plaintiff herein sues.

135.   Castlewood’s conduct clearly evidences an evil motive or reckless indifference or

Castlewood’s conduct was outrageous. Castlewood placed its emphasis on generation of


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profits for its private equity owner. Castlewood compromised treatment standards and

misrepresented both its treatment protocols and the efficacy of those protocols.

Castlewood intentionally harmed Plaintiff without just cause or acted with a deliberate

and flagrant disregard for the safety of Plaintiff. Accordingly, Castlewood’s conduct

justifies an award of punitive damages against Castlewood in an amount adequate to

punish the wrongful conduct alleged herein and to deter such conduct in the future.

                                        Count Three

                                  Negligent Supervision

136.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

137.   Castlewood was negligent in supervising Gibbs.

138.   In general, Missouri courts hold that negligent supervision cases involve situations

where a plaintiff and defendant have some prior relationship.

139.   Plaintiff and Castlewood clearly had a relationship. In fact, Castlewood had a high

duty of good faith to Plaintiff and was required to place Plaintiff’s needs above its own. In

addition, Plaintiff and Castlewood had a contractual relationship in which Plaintiff paid

good and valuable consideration for the alleged services rendered to Plaintiff. Castlewood

further made representations not just to Plaintiff but to the general public, that the

services it allegedly provided constituted a gold standard and were superior to the services

being offered by other treatment centers for the treatment of eating disorders.

140.   Castlewood knew that it was contracting with and providing alleged services to

persons suffering from a mental illness with the second highest mortality rate amongst

all mental illnesses. As such, it had the duty to provide a safe, consistent treatment




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environment conducive to starting the recovery process from eating disorders and to

properly supervise its employees to require them to hold to that standard at all times.

141.   Castlewood clearly had the duty to not expose Plaintiff nor its patient population

to a reprehensible predator. Castlewood violated that duty by employing as a therapist, a

person suffering from anti-social personality disorder. Similarly, Castlewood’s lack of

supervision was so lax, that is if it wasn’t’ non-existent entirely, resulted in its CEO

admitting that it was investigating other employees for abusive conduct.

142.   Because Castlewood does not adequately supervise its employees, Plaintiff suffered

and will continue to suffer both mental and emotional injuries, including, but not limited

to, worsening of her eating disorder, trauma and co-occurring mental health issues,

humiliation, and anxiety, as described hereinabove. Plaintiff’s damages are in excess of

the minimum jurisdictional limits of this Court for which Plaintiff herein sues.

143.   Castlewood’s conduct clearly evidence an evil motive or reckless indifference or

Castlewood’s conduct was outrageous. Castlewood intentionally harmed Plaintiff without

just cause or acted with a deliberate and flagrant disregard for the safety of Plaintiff.

Accordingly, Castlewood’s conduct justifies an award of punitive damages against

Castlewood in an amount adequate to punish the wrongful conduct alleged herein and to

deter such conduct in the future.

                                        Count Four

                   Violation of the Business Premises Safety Act

144.    Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

145.   Castlewood is liable for its violations of RSMo. § 537.787, the Business Premises

Safety Act.


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146.    Castlewood knew or had reason to know that its employees were committing

harmful acts at its St. Louis operations and had sufficient time to prevent on-going

harmful acts.

147.    In a premises liability claims, when the plaintiff is an invitee, a possessor of land is

subject to liability if it:

        A.      Knows or by the exercise of reasonable care would discover the condition

and should realize that it involves an unreasonable risk of harm to invitees;

        B.      Should expect that invitees will not discover or realize the danger or will fail

to protect themselves against it, and;

        C.      Fails to exercise reasonable care to protect them against the danger.

148.    Castlewood not only had actual knowledge of but created and facilitated a

dangerous condition on its property, to wit: allowing predators, including inexperienced,

untrained and inappropriate employees to have access to patients. Castlewood’s creation

of the dangerous condition included, but is not limited to, the following acts and/or

omissions:

        A.      not allocating sufficient financial resources to investigate, hire and train

        competent, professional mental health providers;

        B.      hiring a person with anti-social personality disorder to act in the role of a

        trusted counselor;

        C.      failing to investigate Gibbs before employing her in the role of a trusted

        counselor;

        D.      failing to adequately train Gibbs;

        E.      failing to properly supervise Gibbs;




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       F.     failing to provide a safe environment where Plaintiff would be free from

       abuse and the actions of predators;

       G.     failing to protect Plaintiff from harmful predators like Gibbs.

149.   As a direct and proximate result of Castlewood’s conduct, Plaintiff suffered and

will continue to suffer both mental and emotional injuries, including, but not limited to,

worsening of her eating disorder, trauma and co-occurring mental health issues,

humiliation, and anxiety, as described hereinabove. Plaintiff’s damages are in excess of

the minimum jurisdictional limits of this Court for which Plaintiff herein sues.

150.   Castlewood’s conduct evidences an evil motive or reckless indifference or that

Castlewood’s conduct was outrageous. Castlewood intentionally harmed Plaintiff without

just cause or acted with a deliberate and flagrant disregard for the safety of others.

Accordingly, Castlewood’s conduct justifies an award of punitive damages against

Castlewood in an amount adequate to punish the wrongful conduct alleged herein and to

deter such conduct in the future.

                                            Count Five

                                Fraud By Non-Disclosure

151.   Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99, as if fully set forth herein.

152.   On January 3, 2017, Riverside acquired Castlewood from its former private equity

owner, Trinity Hunt Partners. As previously noted, Castlewood at that time was, and

remains, a deeply troubled institution.

153.   To attempt to separate itself from its troubling past issues, Castlewood changed its

name to Alsana. Castlewood Treatment Center, LLC filed and registered the fictitious

name, Alsana with the Missouri Secretary of State on March 28, 2019.


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154.   To further cover up its past, Castlewood changed all Castlewood references on the

internet to “Alsana.” This was done with the intent of making Alsana appear to be a

reputable treatment center which had been in operation for several decades. Castlewood

altered hundreds of press releases on Castlewood’s website. These press releases

constitute and establish a pattern of false statements pertaining to health care matters

and were made with the intent to defraud Plaintiff, and other third parties. Some of these

releases are as follows:

 Date Of Press Release     Substance of Misrepresentation


 June 17, 2010             This Sunday June 13th, Alsana II opened for business. The new facility is
                           only a few miles away from the current Alsana in Ballwin, Mo. The Alsana
                           staff admitted 7 new clients. The new facility is gorgeous, with plenty of
                           space to grow and expand. We are so very excited about this new program
                           and the opportunities it will provide to help even more clients.


 Dec. 02, 2010             Alsana Treatment Center’s new Step-Down facility with conference center
                           is almost complete! We plan to have it up and running in February 2012.
                           We are so excited to have a new facility to house those participating in our
                           Step-Down program


 August 12, 2011           We are THRILLED to announce that the Commission on Accreditation of
                           Rehabilitation Facilities (CARF) just awarded Alsana Treatment Center a
                           3 year full accreditation for all service levels of care (Residential, Partial
                           Hospitalization, Day Treatment, and IOP). This achievement is an
                           indication of the our organizations dedication and commitment to
                           improving the quality of the lives of individuals receiving services from
                           Alsana. …

                           Choosing Alsana Treatment Center as a CARF accredited treatment
                           program means we have passed an in-depth review by CARF specialists of
                           our services, staff, as well as policies and procedures. These reviews occur
                           every 3 years and ensure that Alsana Treatment Center is complying with
                           all CARF guidelines and continuing to provide exceptional treatment
                           services.

                           All of Alsana’s treatment programs and levels of care have demonstrated
                           that we meet internationally recognized standards and that Alsana
                           Treatment Center has made a commitment to continually enhance the
                           quality of its programs as well as to enhance the lives of the client’s we
                           serve.


 April 6, 2012             Alsana Treatment Center is proud to announce that our new Step- Down
                           House is open for residents!! This new residence is available for those


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                           clients participating in either our Day Treatment or our Step Down PHP
                           programs. Current clients moved into the new facility and are enjoying
                           the brand new bedrooms, community space and ambiance that only
                           Alsana can provide.


 May 14, 2012              We are pleased to announce the opening of our new IOP office and
                           support group center. As of July 2012, The Eating Disorder Center of
                           Missouri will now be located at 1859 Intertech Drive in Fenton,
                           Missouri. This new 6,000 square foot facility will feature four large group
                           meeting rooms, a state-of –the art kitchen and dining room and multiple
                           offices for therapists, dieticians and staff.



 February 7, 2013          Alsana statement on the recent Justice Department settlement: Alsana’s
                           sole intent in this matter was to assure optimal patient care. After
                           evaluating all pertinent factors Alsana’s professional staff concluded that
                           the prospective patient would receive more appropriate care at an in-
                           patient facility. Alsana has always and continues to put the interests of
                           those seeking treatment above everything else and does not discriminate
                           in patient care.




 December 21, 2012         Alsana Treatment Center for Eating Disorders is proud to announce our
                           expansion to Monterey, California.

                           Alsana plans to open its third residential treatment center devoted to the
                           comprehensive treatment of those who suffer with eating disorders.

 December 2012             2012 was a year of continued growth and success for Alsana Treatment
                           Centers. We have maintained the excellence in services we provide while
                           at the same time expanding our properties.

                               •   Opened a Day Treatment House on the campus of Alsana II that
                                   sleeps 8 clients at no charge.
                               •   Moved into a brand new, larger building for our Intensive
                                   Outpatient Program – the Eating Disorder Center of Missouri
                               •   Established a comprehensive monitoring program for clients
                                   after discharge for up to six months with our new alumni
                                   coordinator, Nancy Finefield, MA.
                               •   New exclusive alumni website to cater to our alumni community
                                   by providing resources and support.
                               •   Implemented an improved discharge planning program that
                                   provides additional support for clients and is responsive to
                                   professionals’ needs.
                               •   Strong presence at many national conferences, including IAEDP,
                                   BEDA , EDRS, ICED, EDCT, APTED, ISSTD, ANAD and IFS.
                               •   Shared our expertise by providing speakers at multiple local and
                                   national conferences.


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                               •   Hosted six rewarding Family Weeks for our clients and their
                                   support networks. The opportunity to witness the therapy and
                                   healing that occurred was astonishing.
                               •   Hosted three successful Preferred Provider Conferences boasting
                                   over 200 total attendees. Referring clinicians shared that these
                                   workshops were of the highest caliber, and they left with
                                   comprehensive training in the treatment of eating disorders.
                               •   Hosted Breakfast Workshops across the country to provide
                                   quality continuing education to providers.
                                       § Nashville, TN
                                       §    Columbia, MO
                                       §    Kansas City, MO
                                       §    San Jose, CA
                                       §    Sacramento, CA
                                       §    Santa Barbara, CA
                               •   Hosted various one or two day long conferences to provide in
                                   depth training to clinicians.
                                       §    Orlando, FL
                                       §    New York, NY
                                       §    Monterey, CA
                                       §    San Diego, CA
                               •   Hosted two nationally recognized speakers at Alsana for
                                   continuing education for the surrounding community and our
                                   staff.
                                       §    Dr. John Allen
                                       §    Dr. Patricia Crittenden
                           Overall this year, we, at Alsana, have continued our pursuit of excellence
                           in the treatment of Eating Disorders. We are always striving to provide
                           additional services to meet the needs of the clients we serve. We look
                           forward to 2013, serving our clients and their families, and enhancing
                           relationships with the community and providers.

 February 25, 2013         Several top universities have partnered with Alsana Treatment Center this
                           winter to provide continuing education to Counseling and Psychological
                           Services staff members. Our clinicians work to provide information on
                           ways to identify and assess for eating disorder behaviors, treatment
                           options, ways to help motivate students toward change, and ideas for
                           prevention on campus.


 April 19, 2013            This month Alsana Treatment Center for eating disorders celebrates its
                           13th Anniversary. Nancy Albus, Alsana CEO shared “although much has
                           changed since Alsana first opened its doors: new faces, new buildings,
                           additions to the clinical program, much has stayed the same, such as the
                           strong therapeutic environment. We celebrate Alsana’s anniversary this
                           April and will continue to grow and improve our treatment and services in



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                           order to pursue our vision to be a national center of excellence that helps
                           foster recovery.


 August 14, 2013           Alsana Treatment Center is the first facility to be awarded a three-year
                           accreditation for eating disorders from the Commission on Accreditation
                           of Rehabilitation Facilities.

                           This accreditation is the highest level of accreditation a service provider
                           can receive.


 August 12, 2013           On Aug. 12, the Alsana Treatment Center for Eating Disorders announced
                           the opening its newest facility, Highlands Treatment Center, in
                           Birmingham, Ala. This new facility will offer clients a safe haven for
                           healing under the leadership of Ronda Cannon.

                           Highlands will offer partial hospitalization programs and intensive
                           outpatient that will be accessible to both men and women, ages 18 and
                           older for not only all types of eating disorders, but also co-occurring
                           issues. “We are grateful to bring our state-of-the art, individualized
                           treatment approach to more people in need with this new facility,” said
                           Nancy Albus, CEO of Alsana Treatment Center.


 Sept. 12, 2013            Nancy Albus, Executive Director and CEO of Alsana Treatment Center for
                           Eating Disorders in Ballwin, Missouri is featured in the September 2013
                           St Louis Health and Wellness Magazine.

                           The magazine, which focuses primarily on promoting health and wellness
                           services and products in the local community, describes Albus’s journey
                           from stay at home mom to career woman. [Albus was never the CEO of
                           “Alsana Treatment Center.]


 Nov. 28, 2013             At Alsana, we believe that the process of assessment is so incredibly
                           important, because it helps us develop effective treatment programs for
                           our clients.

                           When a client arrives at our facility, we conduct various initial
                           assessments of their needs and their physical and mental state. This
                           deepens our information and ideas about the client and their history and
                           allows us to integrate that into an effective treatment plan for that person.

                           Once we have begun the treatment plan, we continue to do ongoing
                           assessments, which allow us to see from the initial baseline how the client
                           is improving and progressing. This also helps us determine what
                           adaptations need to occur in the treatment plan in order to achieve the
                           results we want.

                           At discharge, we want to know that the client has improved. Our final
                           assessments allow us to evaluate our program and help us determine
                           areas in which we need to become more effective. These assessments and
                           outcome measures – along with a research team that stays up-to-date on




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                           the latest information from the treatment community – helps Alsana
                           provide the best care to clients.


 Dec. 20. 2013             Alsana Treatment Center provides a safe, judgment free environment for
                           healing where clients can address their underlying symptoms with our
                           caring, experienced staff. We are proud of our success and even more
                           proud of our alumni who have gone on to leader fuller lives. Here’s just a
                           sampling of what’s being said by our alumni, families and professional
                           colleagues about the Alsana experience:




155.    The blog section on “Alsana’s website” lists 49 pages, with 12 articles on each page

which laud the alleged work performed by “Alsana.” These articles go back to 2011,

8 years before Alsana’s Fictitious Name Certificate was filed. See,

https://www.alsana.com/blog/

156.    Castlewood’s name does not appear on any of the 588 articles.

157.    In addition, months before the Alsana fictitious name was registered, a number of

Castlewood employees appeared in videos broadcast on the YouTube platform espousing

the merits and qualities of Alsana, an entity which then did not exist. These

communications were made with the intent to defraud Plaintiff, and other third parties.

These videos include, but are not limited to, the following:

 Date              Description of Video                       Identity of Person and Job Title

 Dec. 3, 2018      Facebook video on Adaptive Care Model      Moreen Rubin, Senior Director of
                   (“ACM”)                                    Clinical Services


 Feb. 1, 2019      Youtube video released about ACM           Nicole Siegfried, Then Chief Clinical
                                                              Officer of Castlewood


 Feb. 1, 2019      YouTube video on ACM                       Tammy Beasley, Vice President,
                                                              Clinical Nutrition Services




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 Feb. 1, 2019      YouTube video on Community of Care         Mark Eagan, M.D., Chief Psychiatric
                                                              Officer


 Feb. 1, 2019      YouTube video on Opening Life’s Doors      Mark Eagan, M.D., Chief Psychiatric
                                                              Officer


 Feb. 1, 2019      YouTube video “Alsana is special because   Tammy Beasley, Vice President,
                   we treat the whole person                  Clinical Nutrition Services


 Feb. 1, 2019      YouTube video, 5 components of ACM         Tammy Beasley, Vice President,
                                                              Clinical Nutrition Services


 Feb. 1, 2019      YouTube, program embraces a wider          Nicole Siegfried, Chief Clinical
                   range of parts of wellness                 Officer


 Feb. 1, 2019      YouTube, our program and the brain         Nicole Siegfried, Chief Clinical
                                                              Officer


 Feb. 1, 2019      YouTube, data driven approach              Nicole Siegfried, Chief Clinical Office



 Feb. 1, 2019      YouTube, Your healing transformation       Moreen Rubin, Senior Director of
                                                              Clinical Services


 Feb. 1, 2019      YouTube, Your eating disorder recovery     Lyn Goldring, BN RN CEDRN, Chief
                                                              Nursing Officer


 Feb. 1, 2019      YouTube, Alsana means Total                Jennifer Crute Steiner, Chief Executive
                   Health and Wellness … “we took             Officer
                   excruciating time and detail
                   developing this program”


 Feb. 1, 2019      YouTube, ACM praise I,                     Brian Cook, PhD, National
                                                              Director of Movement and
                                                              Exercise

 Feb. 1, 2019      YouTube, ACM praise II                     Brian Cook, PhD, National
                                                              Director of Movement and
                                                              Exercise




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158.   Each of these videos and other conduct perpetrated by the Castlewood are designed

to induce patients and their families to utilize the alleged services provided by

Castlewood.

159.   On its website, Castlewood advertises that it uses “holistic, evidence-based eating

disorder treatment.” The purpose of this statement is to entice patients to come to its

treatment facilities. But nothing could be further from the truth.

160.   Castlewood allegedly utilizes what it refers to as “Adaptive Care Model.” This Model

allegedly reflects its “integrative approach to eating disorder treatment. We focus on the

total health and well-being of each client by empowering these areas: medical,

therapeutic, nutrition, movement, and relational practices.”

161.   In order to lure patients to its facilities, Castlewood represents that its “Adaptive

Care Model outperforms traditional eating disorder treatment models in reducing the

severity of eating disorder symptoms.” However, no university based, governmental

agency, third party, peer reviewed, or independent agency-based research study exists

indicating that Castlewood’s Adaptive Care Model is effective or appropriate in treating

eating disorders. Further, the survey relied upon by Castlewood is forced upon is patient

population while they are receiving treatment. If a patient does not submit her weekly

survey, Castlewood withholds treatment until such time as the survey is filled out and

turned in.

162.   Castlewood also allegedly uses treatment regiments known as “Internal Family

Systems” (“IFS”) and Dissociative Identity Disorder Therapy (“DID”). Again, no reputable

residential treatment program in the United States utilizes these treatment programs.

163.   Castlewood is a five day a week residential program with little, if any, substantive

treatment and counseling being rendered on the weekends. In addition, valuable time

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during group sessions is squandered in each and every group as each patient is required

to discuss what “their pronouns are,” or engage in art therapy, or engage in other conduct

not related to the care and treatment of eating disorders.

164.   Castlewood discovered that it could make far greater profits for its owner by

repeatedly treating patients who relapse, without being held accountable for outcomes.

As such, Castlewood created an eating disorder treatment program that is outside any

reasonable or logical standard of care, and which resulted in a revolving door of patients.

165.   Castlewood’s conduct, acts and omissions as set forth hereinabove constitute fraud

by non-disclosure in that:

       (a)    Castlewood deliberately failed to disclose material facts, with said facts

being set forth in paragraphs 152 - 164 all of which are incorporated herein by reference;

       (b)    Castlewood had a duty to disclose those material facts;

       (c)    Plaintiff was ignorant of the facts and did not have an equal opportunity to

       discover them;

       (d)    Castlewood intended Plaintiff to act or refrain from acting based on the non-

       disclosure; and

       (e)    Castlewood relied on the non-disclosure which resulted in actual damages.

166.   Castlewood, as the provider of medical and mental health treatment of eating

disorders, had the legal, moral, ethical, social and fiduciary duty to Plaintiff to disclose all

material facts pertaining to its operations. As such, Castlewood’s acts, conduct, omissions

and misrepresentations constitute fraud by non-disclosure which was the proximate and

producing cause of Plaintiff’s damages.

167.   Castlewood’s acts of fraud by non-disclosure resulted in actual and economic

damages to Plaintiff for which amount Plaintiff seeks herein. Moreover, Castlewood


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engaged in such conduct knowingly, willfully, maliciously and intentionally. Therefore,

Plaintiff is entitled to recover exemplary damages in an amount to be determined by the

trier of fact.

                                            Count Six

                    Intentional Infliction of Emotional Distress

168.    Plaintiff realleges and incorporates by reference the allegations in Paragraph Nos.

1 through 99 and 152 - 164, as if fully set forth herein.

169.    Castlewood had a fiduciary duty to Plaintiff to exercise the highest degree of care

for the safety of Plaintiff and the other patients entrusted to its care. Castlewood knew

that its patients, including Plaintiff were suffering from a mental illness that had the

second highest mortality rate.

170.    Castlewood knew or should have known that federal funding for research into this

illness is almost non-existent.

171.    Castlewood knew or should have known that there are biological, genetic and

societal components of eating disorders which make it difficult to treat effectively.

172.    Castlewood knew or should have known that medical doctors receive very little

training on eating disorders in medical schools and residency programs.

173.    Castlewood knew or should have known that different areas of the brain are

impacted by eating disorders and those areas can be treated through treatments like

transcranial magnetic stimulation.

174.    Castlewood knew or should have known that up to seventy percent (70%) of people

who suffer from eating disorders also suffer from a co-occurring condition or illness.

175.    Castlewood knew or should have known that its patients, especially those who were

receiving residential care treatment require a stable environment and interaction with


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and treatment by experienced, well-trained, well-educated medical and mental health

personnel.

176.   Despite having all of this knowledge, Castlewood chose to place profiteering over

the needs of its patients. Castlewood treated its patients like corporate commodities

instead of patients requiring the highest standard of care.

177.   Castlewood occupied a special place of trust and confidence and owed to Plaintiff

the highest fiduciary duty. And yet, Castlewood violated this duty and intentionally

inflicted emotional distress upon Plaintiff.

178.   Castlewood’s conduct set forth hereinabove, but not limited to paragraphs 1 – 99,

and 152 - 164 was so outrageous in character, and so extreme in degree, as to go beyond

all possible bounds of decency, was atrocious, and utterly intolerable in a civilized

community. Castlewood exposed Plaintiff and others to predators, did not adequately

train or supervise its employees, did not provide a safe, secure environment,

misrepresented its program, the efficacy of its program, and misrepresented its very name

and existence.

179.   Castlewood knew that Plaintiff was particularly susceptible to emotional distress.

As such, Castlewood knew or should have known that its conduct involved an

unreasonable risk of causing the injuries and damages sustained by Plaintiff. Plaintiff’s

damages are so severe that she requires medical and mental health treatment and as such,

Plaintiff’s damages are medically significant.

180.   As a proximate result of the foregoing intentional wrongful acts of Castlewood

Plaintiff suffered and will continue to suffer medically significant damages as well as both

mental and emotional injuries, including, but not limited to, worsening of her eating

disorder, trauma and co-occurring mental health issues, humiliation, and anxiety, as


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described hereinabove. Plaintiff’s damages exceed the minimum jurisdictional limits of

this Court for which Plaintiff herein sues.

181.   Castlewood’s conduct clearly evidences an evil motive or reckless indifference or

that Castlewood’s conduct was outrageous. Castlewood intentionally harmed Plaintiff

without just cause or acted with a deliberate and flagrant disregard for the safety of others.

Accordingly, Castlewood’s conduct justifies an award of punitive damages against

Castlewood in an amount adequate to punish the wrongful conduct alleged herein and to

deter such conduct in the future.

                            REQUEST FOR TRIAL BY JURY

182.   Plaintiff hereby requests a trial by jury.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that

Defendants appear and answer herein, and that upon final trial hereof, the Court and/or

the trier of fact, grant the following relief:

       1.      Assume jurisdiction over Plaintiff’s claims;

       2.      Hold that Castlewood and Gibbs, individually and jointly and severally, are

liable to Plaintiff under the causes of action and theories set forth hereinabove;

       3.      Hold that Plaintiff has sustained actual damages as a proximate result of

Defendants’ conduct;

       4.      Award to Plaintiff her actual damages as a proximate result of Defendants’

conduct;

       5.      Award to Plaintiff’s counsel all reasonable and necessary attorney’s fees

incurred prosecuting this action;

       6.      Assess punitive damages against all Defendants in an amount to be

determined by the trier of fact, and;


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       7.     Award such other relief, at law or in equity, as the Court deems just and

proper.

                                               Respectfully submitted,

                                               /s/Steven R. Dunn_______
                                               Steven R. Dunn
                                               State Bar No. 06252250
                                               5830 Preston Fairways
                                               Dallas, Texas 75252

                                               Telephone (214) 769.7810
                                               steven@dunnlawfirm.net

                                               ATTORNEYS FOR PLAINTIFF




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